






In The



Court of Appeals



Ninth District of Texas at Beaumont



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NO. 09-05-229 CR


NO. 09-05-230 CR


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RANDY LEE SCHOFIELD, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause Nos. 92660 and 92802






MEMORANDUM OPINION


	Randy Lee Schofield was convicted of the offense of burglary of a habitation in
Cause No. 92802 and was convicted of felony theft in Cause No. 92660.  Schofield filed
notice of appeal on May 31, 2005.  In each case, the trial court entered a certification of
the defendant's right to appeal in which the court certified that this is a plea-bargain case,
and the defendant has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  The trial
court's certifications have been provided to the Court of Appeals by the district clerk.

	On June 1, 2005, we notified the parties that the appeals would be dismissed unless 
amended certifications were filed within thirty days of the date of the notices and made a
part of the appellate records.  See Tex. R. App. P. 37.1.  The records have not been
supplemented with amended certifications.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeals must
be dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeals for want of jurisdiction.

	APPEALS DISMISSED.

								____________________________

									HOLLIS HORTON

										Justice


Opinion Delivered July 27, 2005

Do Not Publish

Before McKeithen, C.J., Kreger and Horton, JJ.


